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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION


 LifeWise, Inc.,

        Plaintiﬀ,                                      Case No.: 1:24-cv-00268-SLC

                                                       Chief Judge Holly A. Brady
        v.
                                                       Magistrate Judge Susan L. Collins
 Zachary Parrish,

        Defendant.



         PLAINTIFF LIFEWISE’S STATEMENT OF MATERIAL FACTS
          IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT


     1. LifeWise is a privately funded, Christian non-proﬁt that provides public school families

 with released time religious instruction in traditional, character-based, Biblical teaching during

 school hours. It provides the religious instruction only to families that want it. And it does so oﬀ

 school property. Compl. ¶2; see Parrish Mot. to Dismiss (“Def. Mot.”) at 1 (“LifeWise is a private

 organization that markets religious instruction for public school students.”).

     2. LifeWise calls its released time religious instruction program LifeWise Academy, and it is
 permitted to oﬀer this program to public school students under released time religious instruction

 statutes in Indiana and across the country. Compl. ¶3. (These statutes are constitutional under the

 U.S. Supreme Court’s holding in Zorach v. Clauson, 343 U.S. 306 (1952).)

     3. The LifeWise Academy curriculum (“Curriculum”) is protected by copyright, and Life-

 Wise is the exclusive owner of the Curriculum. LifeWise was previously known as Stand for Truth,

 Inc. The relevant copyrights were registered to Stand for Truth, Inc. as the author on July 8, 2021

 prior to changing its corporate name to LifeWise, Inc. on September 7, 2022. Compl. ¶15; see

 Compl. Ex. A; see generally Def. Mot.

     4. Local LifeWise Academy chapter programs must pay a fee to access the LifeWise


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 Curriculum. Compl. ¶28; cf. Def. Mot. at 8 (“Even if the Court accepts that LifeWise lost out on

 the licensing fees Mr. Parrish would otherwise have had to pay, that should not change the analy-

 sis.”).

      5. Defendant Mr. Zachary Parrish posed as a LifeWise volunteer to gain access to internal Life-

 Wise documents, including its Curriculum. Comp. ¶7; cf. Def. Mot. at 1 (“[Parrish] acquired and

 shared the LifeWise elementary school curriculum on a critical website and a Facebook group, both

 called ʻParents Against Lifewise.’”).

      6. Parrish published internal LifeWise documents and the entire copyrighted Curriculum on

 his website: https://parentsagainstlifewise.online/ (“Website”). Compl. ¶7; see Def. Mot. at 2

 (“[Parrish] posted the entire curriculum”).

      7. It is “highly likely that some local programs will download free versions of the LifeWise Cur-

 riculum” from Parrish’s Website. Compl. ¶50; see Def. Mot. at 9 (“Even taking this alleged harm

 at face value ….”).

      8. In response to LifeWise’s cease-and-desist letter, Parrish responded with a meme stating:

 “it’s called fair use bitch.” Compl. ¶9; cf. Def. Mot. at 1 (“Mr. Parrish’s admittedly salty charac-

 terizations aside ….”).

      9. LifeWise was forced to bring this lawsuit to remedy Parrish’s intentional copyright infringe-

 ment, which Parrish maintains is fair use. See Compl. ¶¶53–59; Def. Mot. at 1–2.

      September 16, 2024
                                                            Respectfully submitted,

                                                            /s/ James S. Kresge
                                                            James S. Kresge (admitted pro hac vice)
                                                            Joseph P. Ashbrook (31682-15)
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                                CERTIFICATE OF SERVICE
 I certify that, on September 16, 2024, I caused the foregoing to be ﬁled electronically with the
 Clerk of Court using the CM/ECF system, which shall provide notiﬁcation by email of such ﬁling
 to all counsel of record.


                          /s/ James S. Kresge




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